
231 P.3d 164 (2010)
168 Wash.2d 1020
Gerald BURKE and Ethelda Burke, husband and wife, Petitioners,
v.
Peter STEFFEN and "Jane Doe" Steffen, husband and wife, and America's Best Charters, LLC, d/b/a ABC Yacht Sales, Respondents.
No. 83889-5.
Supreme Court of Washington.
March 30, 2010.

ORDER
¶ 1 Department I of the Court, composed Chief Justice Madsen and Justices C. Johnson, Sanders, Owens and J. Johnson, considered at its March 30, 2010, Motion Calendar, whether review should be granted pursuant to RAP 13.4(b), and unanimously agreed that the following order be entered.
¶ 2 IT IS ORDERED:
¶ 3 That the Petition for Review is denied and the Respondent's request for attorney fees is granted. The Respondent is awarded reasonable attorney fees and expenses pursuant to RAP 18.1(j). The amount of the attorney fees and expenses will be determined by the Supreme Court Clerk pursuant to RAP 18.1. Pursuant to RAP 18.1(d), Respondent *165 should file an affidavit with the Clerk of the Washington State Supreme Court.
For the Court
/s/ Madsen, C.J.
CHIEF JUSTICE
